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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                        Plaintiff,                 )
                                                     )
10           v.                                      ) 2:09-CR-132-JAD-(GWF)
                                                     )
11 JEFFREY MITCHELL,                                 )
                                                     )
12                        Defendant.                 )
13                                      ORDER OF FORFEITURE

14            On September 30, 2013, defendant JEFFREY MITCHELL pled guilty to Count Two of a

15 Fifteen-Count Second Superseding Indictment charging him in Count Two with Conspiracy to Sell

16 Unregistered Securities, to Make False Statements to SEC, to Evade Filing Periodic Reports, and to

17 Commit Securities Fraud and Insider Trading in violation of Title 15, United States Code, Sections

18 77e, 77q, 78j, and 78m; and Title 18, United States Code, Section 371, and agreed to the forfeiture of

19 an in personam criminal forfeiture money judgment of $10,000,000 pursuant to the Plea Agreement

20 and the Forfeiture Allegations in the Second Superseding Indictment. Second Superseding Indictment,

21 ECF No. 70; Change of Plea Minutes, ECF No. 198; Plea Agreement, ECF No. 200.

22           This Court finds that JEFFREY MITCHELL shall pay a criminal forfeiture money judgment of

23 $10,000,000 in United States Currency to the United States of America, pursuant to Fed. R. Crim. P.

24 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

25 Code, Section 2461(c); and Title 21, United States Code, Section 853(p).

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 1         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 2 States recover from JEFFREY MITCHELL a criminal forfeiture money judgment in the amount of

 3 $10,000,000 in United States Currency.

 4         DATED this 4th dayofofOctober,
                      __ day      October,  2013.
                                          2013.

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                                              UNITED STATES DISTRICT JUDGE
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 1                                          PROOF OF SERVICE
 2
            I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following
 3
     individuals were served with copies of the Order of Forfeiture on October 3, 2013, by the below
 4
     identified method of service:
 5
            CM/ECF
 6

 7          Jess R. Marchese                                       David T. Brown
            Law Offices of Jess R. Marchese                        Brown, Brown & Premsrirut
 8          1212 South Casino Center Blvd.                         520 S. 4th St. 2nd Fl.
            Las Vegas, NV 89104                                    Las Vegas, NV 89101
 9          marcheselaw@msn.com                                    master@brownlawlv.com
            Attorney for Jeffrey Turino                            Attorney for Jeffrey Mitchell
10
            Bart Stapert                                           John Wesley Hall, Jr.
11          Bohler Law Firm                                        1202 Main Street, Ste. 210
            BStapert@Bohler.eu                                     Little Rock, AR 72202
12          Attorney for Melissa Spooner                           tjl@forhall.com
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13          Mace J. Yampolsky
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15          Mace@macelaw.com                                       Las Vegas, NV 89101
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16                                                                 Attorney for Ginger Gutierrez
            Mark S. Dzarnoski
17          Gordan & Silver, Ltd.                                  Todd M. Leventhal
            3960 Howard Hughes Pkwy., 9th Fl.                      Leventhal and Associates
18          Las Vegas, NV 89109                                    600 South Third St.
            usdcnotices@gordonsilver.com                           Las Vegas, NV 89101
19          Attorney for Helen Bagley                              todlev@yahoo.com
                                                                   Attorney for James Kinney
20

21

22
                                           /s/ Ray Southwick
23                                         Ray Southwick
                                           Forfeiture Support Associates Paralegal
24

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